                                      Ex.535-4
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      T. MATTHEW MASHBURN                                         March 14, 2023
      IN RE GEORGIA SENATE BILL 202                                            1

·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA
·2· · · · · · · · · · · ATLANTA DIVISION

·3·   ·______________________________
· ·   · · · · · · · · · · · · · · · ·|
·4·   ·IN RE:· · · · · · · · · · · · |
· ·   ·GEORGIA SENATE BILL 202· · · ·|· Master Case No.
·5·   · · · · · · · · · · · · · · · ·|
· ·   · · · · · · · · · · · · · · · ·|· 1:21-MI-55555-JPB
·6·   ·______________________________|

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·8
· · · · · · REMOTE/IN-PERSON VIDEOTAPED DEPOSITION
·9
· · · · · · · · · · · · · · · ·OF
10
· · · · · · · · · · · T. MATTHEW MASHBURN
11

12
· · · · · · · · · · · · ·March 14, 2023
13
· · · · · · · · · · · · · ·10:13 a.m.
14

15
· · · · · · · · · · ·1600 Parkwood Circle
16· · · · · · · · · · · · ·Suite 200
· · · · · · · · · · ·Atlanta, Georgia 30339
17

18· · · · · ·Penny McPherson Walker, CCR-B-914, RPR

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·1· ·assisting another person with an absentee ballot,                                12:18:13
·2· ·prior to SB 202, that was legal at the time but it                               12:18:17
·3· ·would now be illegal under SB 202?                                               12:18:21
·4· · · · A.· · None that -- none specifically -- no                                  12:18:28
·5· ·specific instances that come to mind.· Huh-uh.· No.                              12:18:32
·6· · · · · · · THE WITNESS:· Sorry, Court Reporter.                     I            12:18:37
·7· · · · said huh-uh.· I'm sorry.                                                    12:18:38
·8· · · · Q.· · (By Mr. Jedreski) And the last provision                              12:18:39
·9· ·that I want to go through like this relates to line                              12:18:40
10· ·relief, and I say that because I know you've already                             12:18:44
11· ·given quite a bit of testimony on line relief.                                   12:18:48
12· · · · A.· · Right.                                                                12:18:50
13· · · · Q.· · But kind of for the record could you just                             12:18:50
14· ·summarize what changes SB 202 made with respect to                               12:18:53
15· ·provision of food and water or relating to                                       12:18:57
16· ·interaction with voters in line?                                                 12:18:59
17· · · · A.· · Right.· The -- what SB 202 does, in my                                12:19:01
18· ·mind, is it creates a bright line so that everybody                              12:19:07
19· ·knows what's allowed and what's prohibited, whereas                              12:19:10
20· ·I, I personally, previously thought it was very                                  12:19:15
21· ·clear:· There's no interaction between anybody and                               12:19:18
22· ·the voters within a hundred and fifty feet.                                      12:19:22
23· · · · · · · But as I talked to people about it, I was                             12:19:27
24· ·informed that it was not clear.· And so in my mind                               12:19:29
25· ·what SB 202 does is say:· Okay, now we're going to                               12:19:33


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·1· ·have a clear line.· And then people raised a couple                             12:19:37
·2· ·of issues.· They said:· "Okay, well, what about                                 12:19:40
·3· ·water?· Certainly you can distribute water."· And                               12:19:43
·4· ·then the counties were like:· "Wait a minute.· We                               12:19:46
·5· ·don't have the people.· We're barely -- we're barely                            12:19:48
·6· ·making it as it is."                                                            12:19:51
·7· · · · · · · So they reached a compromise of, okay,                               12:19:52
·8· ·we'll have an unattended receptacle for water to                                12:19:56
·9· ·address the concerns about water, and my experience                             12:20:01
10· ·is that most places that are precincts -- not all of                            12:20:03
11· ·them but most of them -- have water fountains on the                            12:20:06
12· ·inside, and people just go.· But, you know, that was                            12:20:10
13· ·kind of a compromise to address every -- you know,                              12:20:14
14· ·people's concerns: "Well, what about water?"                                    12:20:16
15· · · · · · · But just, in my experience, it had just                              12:20:18
16· ·gotten to where incursions into the hundred and fifty                           12:20:20
17· ·foot had gone from being very, very rare to just, you                           12:20:27
18· ·know, an organized, you know, very organized effort,                            12:20:31
19· ·and the poll managers were getting confused as to --                            12:20:38
20· · · · · · · (Telephone conversation from Zoom heard in                           12:20:38
21· · · · the background.)                                                           12:20:38
22· · · · · · · THE WITNESS:· And so it was getting                                  12:20:59
23· · · · very -- the poll managers were getting inundated                           12:21:00
24· · · · with questions:· "Well, is this okay, or is that                           12:21:03
25· · · · okay, or is this okay or that okay?"                                       12:21:04


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·1· · · · · · · And so, in my mind, SB 202 just creates a                            12:21:05
·2· · · · clean, bright line that says, okay, you can do                             12:21:08
·3· · · · this; you can't do this.· Although there are --                            12:21:11
·4· · · · you know, I'm sure there are constitutional                                12:21:14
·5· · · · questions that constitutional scholars can                                 12:21:16
·6· · · · debate.                                                                    12:21:20
·7· · · · Q.· · (By Mr. Jedreski) Sure.· So you mentioned                            12:21:20
·8· ·a moment ago that there -- to address the situation                             12:21:22
·9· ·of water, someone needing water, that the response is                           12:21:24
10· ·that there's water available within the poll -- most                            12:21:27
11· ·polling stations; is that right?                                                12:21:32
12· · · · A.· · No.· The statute actually specifically                               12:21:32
13· ·says water can be distributed in an unattended                                  12:21:36
14· ·receptacle.· So water is specifically allowed in the                            12:21:41
15· ·statute.                                                                        12:21:43
16· · · · Q.· · In like a bin or something; you know, I                              12:21:44
17· ·imagine like a big Tupperware water bottle or some                              12:21:45
18· ·big cooler with cups.· Is that what you mean by --                              12:21:45
19· ·when you think of unattended receptacle, is that what                           12:21:49
20· ·you're thinking of?                                                             12:21:52
21· · · · A.· · I'm thinking of that they could put cases                            12:21:53
22· ·of water out if they wanted to or they could have a                             12:21:56
23· ·(connection lagging) Crystal Springs type, you know,                            12:21:56
24· ·thing that they might have in the building                                      12:21:56
25· ·(inaudible).                                                                    12:22:20


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·1· · · · · · · · · ·C E R T I F I C A T E
·2
·3· ·STATE OF GEORGIA:
·4· ·COUNTY OF FULTON:
·5
·6· · · · · · · I hereby certify that the foregoing
·7· · · · transcript was taken down, as stated in the
·8· · · · caption, and the questions and answers thereto
·9· · · · were reduced to typewriting under my direction;
10· · · · that the foregoing pages 1 through 205 represent
11· · · · a true, complete, and correct transcript of the
12· · · · evidence given upon said hearing, and I further
13· · · · certify that I am not of kin or counsel to the
14· · · · parties in the case; am not in the regular
15· · · · employ of counsel for any of said parties; nor
16· · · · am I in anywise interested in the result of said
17· · · · case.
18· · · · · · · This, the 16th day of March 2023.
19
20
21· · · · · · · · · · · ·PENNY MCPHERSON WALKER, CCR-B-914
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23
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